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                 EXHIBIT B-135
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                                                                            FILED IN OFFICE



                   IN THE SUPERIOR COURT OF FULTON COUNTYL--.l..:-+=-~=-------
                               STATE OF GEORGIA
IN RE: Special Purpose Grand
Jury Hearing

                                                     CASE NO. 2022-EX-000024




   REQUEST TO USE A RECORDING DEVICE PURSUANT TO RULE 22 ON
              RECORDING OF JUDICIAL PROCEEDINGS.

Pursuant to Rule 22 of the Uniform Rules for Superior Court regarding Use of
Electronic Devices in Courtrooms and Recording of Judicial Proceedings, the
undersigned    hereby requests    permission   to use a recording device in
Courtroom 8-D in order to [gjrecord images and/ or [gjsound during all or
portions of the proceedings in the above captioned case/ calendar.

Consistent with the provisions of the rule, the undersigned desires to use the
following described recording device(s): [gjcomputer of any size, including a
tablet, a notebook, and a laptop; [gjsmart phone, a cell phone or other wireless
phone; [gJ camera and other audio or video recording devices [gj any similar
devices __

The proceedings  that the undersigned desires to record commence on (date and
time}J_AN 24, 2023. Subject to direction from the court regarding possible
pooled coverage, the undersigned wishes to use this device in the courtroom on
(date and time}J_AN 24, 2023.


The personnel       who will be responsible      for the use of this recording device are:
(identify   appropriate   personnel   or   individual)CHRIS   ROSENTHAL      AND    DALE
RUSSELL.


The undersigned hereby certifies that the device to be used and the locations
and operation of such device will be in conformity with Rule 22 and any


For questions or concerns email pio@fultoncountyqa.gov                                  1
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guidelines issued by the court.

FOX 5 News-Atlanta
(News Agency/Media         Outlet/Law Firm/Individual      Representative)

dale~russell@fox.com
(Email Address)

404-545-6767
(Phone Number)

ORDER APPROVING/DISAPPROVING REQUEST:
         The request is:.
               [g]Approved


              The requesting agency:
                            be pool for its media
                      [gjShall not be pool for its media
Under no circumstances is this rule to be construed as permission for filming,
recording,. or photography in any other area of the courthouse or courtroom
other than that for which permission is given. The undersigned understands   ;

and acknowledges that a violation of Rule 22 and any guidelines issued by the
court may be grounds for removal or exclusion from the courtroom and a
willful violation may subject the undersigned to penalties for contempt of court.

So ORDERED this 23 rd day of January 2023.




                                 Superior Court of Fulton Count
                                 Atlanta Judicial Circuit




For questions or concerns email pio@fultoncountyqa. qov                          2
Rule 22 (Rev. 04/01/ 18)
